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     ~A0245B      (Rev. 9/00) Judgment in a Criminal Case
                  Sheet 1


                                             UNITED STATES DISTRICT COUR
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                                             •. t -_~!\




                    UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN A CRIMINF\hf1ASE
                                        v.                                         (For Offenses Committed On or After November 1, 19'9'7)

                       JONATHAN 1. GARCIA (12)                                     Case Number: 10CR22421M
                                                                                   Gary Paul Burcham
                                                                                   Defendant's Attorney
    REGISTRATION NO. 20116298
    \81 Correction of Sentence for Clerical Mistake (Fed. R. Crim. P.36)
    THE DEFENDANT:
     \81pleaded gUilty to count(s)           ONE OF THE SUPERSEDING INFORMATION

    o was found gUilty on count(s)
           after a plea 0 f not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
     Title & Section                     Nature of Offense                                                                                 Number(s)
18:1014; 18:982(a)(2)(A)              Making False Statement to Federally Insured Bank; Criminal Forfeiture                                        1




              The defendant is sentenced as provided in pages 2 through _ _5_ _ of this judgment. The sentence is imposed pursuant
       to the Sentencing Reform Act of 1984.
   o\81 Count(s)
        The defendant has been found not gUilty on count(s)
                 .-;,r.;;,;em=ai;;,;n;.;,in.g:....-_
                                            .        _ _ _ _ _ _ __               is   0 arel&! dismissed on the motion of the United States.
   181 Assessment: $ 100.00
   181 Fine waived                                   181 Forfeiture pursuant to order filed                 10/25/2010               included herein.
             IT IS ORDERED
                                                                                                  ---------
                                 that the defendant shall notifY the United States attorney for this district within 30 days of any change of name, residence,
       or mailing address tmtil all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
       defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                       February 18, 20 II
                                                                                   Date ofImposition of Sentence




                                                                                                                                                  IOCR22421M
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AO 245B     (Rev 9100) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                 Judgment- Page _..;;2_ of
DEFENDANT: JONATHAN J. GARCIA (12)
CASE NUMBER: 10CR2242 JM
                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          FOURTEEN (14) MONTHS



   o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
   ~ The court makes the following recommendations to the Bureau of Prisons:
          Defendant be placed in a facility as close as possible to the Southern District of California.




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Oa.m.    Op.m.       on
                as notified by the United States Marshal.

    ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           ~    onlby 4/28/2011, or to United States District Court 4/29/20119:00 AM before Judge Jeffrey T. Miller.

           o    as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                               RETURN

 I have executed this judgment as follows:

          Defendant delivered on       ______________________________ w
 at __________________ , with a certified copy of this judgment.


                                                                                               UNITED STATES MARSHAL

                                                                     By _________~~~~~~~~__~--------
                                                                                           DEPUTY UNITED STATES MARSHAL




                                                                                                                          10CR2242JM
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AO 245D      (Rev. 3/10) Judgment in a Criminal Case for Revocations
             Sheet 3 - Supervised Release
                                                                                                          Judgment-Page   --L- of _--"5'--__
DEFENDANT: JONATIIAN J. GARCIA (12)                                                               D
CASE NUMBER: IOCR2242 JM
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons,
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance, The defendant shall refrain from any unlawful use of a controlled
substance, The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than --1-. drug tests per month during
the term of supervision, unless otherwise ordered by court.

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon,
       The defendant shaIl cooperate in the coIlection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
       Backing Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer, (Check, if applicable.)

o      The defendant shall participate in an approved program for domestic violence, (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed,

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement,
                                                                                                                                      lOCR2242JM
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       AO 245B     (Rev. 9/00) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                          Judgment-Page --i.- of _...:;:..5_ _
       DEFENDANT: JONATHAN J. GARCIA (12)                                                            D
       CASE NUMBER: lOCR2242 JM




                                               SPECIAL CONDITIONS OF SUPERVISION
[81 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
[81 If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter the Republic of Mexico without written permission of the Court or probation officer.
[81 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
[81 Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly, including any interest
    obtained under any other name, entity, including a trust partnership or corporation, until restitution is paid in full.



D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation of
D Participate in a mental health treatment program as directed by the probation office.
[81 Provide complete disclosure of personal and business financial records to the probation officer as requested.
[81 Not engage in the employment or profession of mortgage brokering or lending.

o Seek and maintain full time employment andlor schooling or a combination ofboth.
o   Resolve all outstanding warrants within                  days.
D Complete             hours of community service in a program approved by the probation officer within
o Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
o Reside in a Residential Reentry Center (RRC) as directed by the Bureau of Prisons for a period of
    commencing upon release from imprisonment.

D Remain in your place of residence for a period of                             ,except while working at verifiable employment, attending religious
    services or undergoing medical treatment.
D Not engage in any form of telemarketing, as defined in 18 USC 2325, without the written permission of the probation officer.
[81 Notify the Collections Unit, United States Attorney's Office, before transferring any interest in any property owned directly or indirectly,
    including any interest held or owned under any other name entity, including trusts, partnerships or corporations, until restitution is paid in
    full.


I2SI Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.
    The defendant may be required to contribute to the costs of services rendered in an amount to be determined by the probati~ officer, based
    on the defendant's ability to pay.                                                                                        .


                                                                                                                                      lOCR2242JM
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AO 245S     Judgment in Criminal Case
            Sheet 5 - Criminal Monetary Penalties
                                                                                                    Judgment - Page _....;5__ of          5
 DEFENDANT: JONATHAN J. GARCIA (12)                                                          II
 CASE NUMBER: IOCR2242 JM

                                                           RESTITUTION

The defendant shall pay restitution in the amount of _ _ _$_9,_9_50_.0_0_ _ _ unto the United States of America.




          This sum shall be paid __ immediately.
                                  IC as follows:

           Through the Inmate Responsibility Program at the rate of 50% of Defendant's income, or $25.00 per quarter whichever is
           greater. The defendant shall pay the total amount of restitution no later than 60 days from the date of defendant's release
           from custody. Restitution is to be paid through the Clerk, United States District Court to the following victims:

           Aurora Loan Services
           Attn: Legal Department
           Reference Loan Nos: 3002032351,88000546544
           10350 Park Meadows Drive
           Litton, CO 80124




      The Court has determined that the defendant        does       have the ability to pay interest. It is ordered that:

    K        The interest requirement is waived.

             The interest is modified as follows:




                                                                                                   IOCR2242JM
